Case 8:19-cv-02019-JSM-CPT        Document 8      Filed 01/09/20   Page 1 of 1 PageID 127




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 GOTHAM INSURANCE COMPANY,

       Plaintiff,

 v.                                                       Case No: 8:19-cv-2019-T-30CPT

 GCJ CONSTRUCTION GROUP, INC.
 and GALLO BUILDING SERVICES,
 INC.,

       Defendants.


                                ORDER OF DISMISSAL

       Before the Court is the Notice of Voluntary Dismissal with Prejudice (Dkt. 7).

 Upon review and consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.     This cause is dismissed with prejudice.

       2.     All pending motions, if any, are denied as moot.

       3.     The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 9th day of January, 2020.




 Copies furnished to:
 Counsel/Parties of Record
